       2:18-cv-03326-RMG             Date Filed 01/11/19   Entry Number 63         Page 1 of 6




                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                                        Civil Action No. 2:18-cv-03326-RMG
SOUTH CAROLINA COASTAL                                  (Consolidated with 2:18-cv-3327-RMG)
CONSERVATION LEAGUE; et al.,

                       Plaintiffs,
                                                        REPLY TO PLAINTIFFS CITY OF
v.                                                      BEAUFORT ET AL.’S RESPONSE TO
                                                        MOTION TO INTERVENE
WILBUR ROSS, in his official capacity as the
Secretary of Commerce; et al.,

                       Defendants.



CITY OF BEAUFORT; et al.,

                       Plaintiffs,

v.

NATIONAL MARINE FISHERIES
SERVICE; et al.,

                       Defendants.

                                         I. INTRODUCTION

         None of the Plaintiffs in either of these two consolidated cases oppose the International

Association of Geophysical Contractors, TGS-NOPEC Geophysical Company, CGG Services

(U.S.) Inc., GX Technology Corporation, Spectrum Geo Inc., and WesternGeco LLC’s request to

intervene. Plaintiffs South Carolina Coastal Conservation League et al. also do not oppose the

American Petroleum Institute’s (“API”) request to intervene. Accordingly, the only contested

issue regarding Proposed Intervenors’ motion to intervene involves the City of Beaufort et al.’s

(collectively, the “Municipalities”) solitary opposition to API’s participation in this litigation.

The Proposed Intervenors respectfully provide this reply to the Municipalities’ response.


PROPOSED INTERVENORS’ REPLY                      -1-
99742310.3 0081381-00014
WBD (US) 45349990v1
       2:18-cv-03326-RMG          Date Filed 01/11/19     Entry Number 63        Page 2 of 6




         The Municipalities’ opposition to API’s intervention is baseless. The Municipalities

provide only half-hearted, unexplained, and incorrect arguments in response to the merits of the

motion to intervene. They fail to cite a single case and fail to submit any relevant evidence to

rebut the sworn declaration of Erik Milito in support of API’s intervention. Instead, the bulk of

the Municipalities’ response is focused on their opposition to a 2013 report by Quest Offshore

commissioned (in part) by API regarding the potential economic benefits of offshore oil and gas

development on the Atlantic coast. See Pls. Resp. to Mot. to Intervene at 2–4.1 Although

Proposed Intervenors disagree with the Municipalities’ characterization of the 2013 Quest

Offshore report, that report has no bearing on API’s intervention in this lawsuit or on the issues

to be decided in this litigation and, indeed, has only now been introduced into this litigation by

the Municipalities themselves.2

         The Proposed Intervenors therefore respectfully request that this Court grant their motion

to intervene as of right, which is unopposed but for the Municipalities’ unmeritorious opposition

to API’s intervention. For the reasons set forth in the motion to intervene and this reply, API, like

the rest of the Proposed Intervenors, meets all of the relevant criteria for intervention under Rule

24.




1
  The Municipalities filed their response to the motion to intervene at docket 24 in case 2:18-cv-
3327-RMG, which was administratively closed by the Court after the above-captioned cases
were consolidated. See Dkt. 57. To avoid any confusion associated with references to filings that
are part of the docket in the administratively closed case, this reply cites to the filings by name
instead of docket number.
2
 The text of the 125-page document (the Municipalities’ response only links to the Executive
Summary) provides a detailed explanation of the methodology and assumptions used by Quest
Offshore in preparing the report.


PROPOSED INTERVENORS’ REPLY                     -2-
99742310.3 0081381-00014
WBD (US) 45349990v1
       2:18-cv-03326-RMG          Date Filed 01/11/19      Entry Number 63        Page 3 of 6




                                         II. ARGUMENT

A.       API has significant protectable interests in the authorizations at issue in this lawsuit,
         and the denial of intervention would impair API’s ability to protect those interests.

         The Municipalities characterize API’s interests in this case as “highly speculative,

tenuous, and impractical,” and assert that “API’s interest will only actuate if there are surveys, if

those surveys yield information that is useful to its members, and that information ultimately

leads to a decision about whether to drill offshore for oil and gas.” Pls. Resp. to Mot. to Intervene

at 5. The Municipalities are wrong.

         Contrary to the Municipalities’ mischaracterizations, API’s members have a significant

and ongoing stake in the outcome of this litigation. As described in the motion to intervene and

the Milito Declaration, API’s members rely on the information provided by seismic surveys

(including the planned surveys that are the subject of this lawsuit) to identify potential oil and

natural gas deposits and to inform their business ventures. Mot. to Intervene at 6; Milito Decl. at

¶ 8. API and its members have a direct interest in obtaining up-to-date information about the

potential oil and gas reserves of the Atlantic Outer Continental Shelf (“OCS”), which can only be

accomplished if the incidental harassment authorizations challenged in this lawsuit are upheld.

Mot. to Intervene at 9–10; Milito Decl. at ¶¶ 8–9. Moreover, because of its members’ significant

interests in oil and gas development in the OCS, API participated in numerous aspects of the

public processes relating to the federal authorizations for the Atlantic OCS geophysical surveys

at issue in this lawsuit, including the filing of detailed comments at numerous points in the

regulatory processes over a five-year period. Milito Decl. at ¶ 10.

         API’s interests are therefore neither speculative nor dormant until the seismic surveys are

completed, as the Municipalities claim. Because API’s members “stand to gain or lose by the

direct legal operation of the district court’s judgment” on Plaintiffs’ lawsuits, API has a


PROPOSED INTERVENORS’ REPLY                      -3-
99742310.3 0081381-00014
WBD (US) 45349990v1
       2:18-cv-03326-RMG         Date Filed 01/11/19       Entry Number 63         Page 4 of 6




significant protectable interest which justifies its intervention. Teague v. Bakker, 931 F.2d 259,

261 (4th Cir. 1991).

B.       API’s interests are not adequately represented by existing parties to the litigation.

         The Municipalities also contend, without a supporting explanation, that the individual

company-permittees and the Federal Defendants will adequately represent API’s interests in this

litigation. Pls. Resp. to Mot. to Intervene at 5. The Municipalities are wrong again.

         In determining whether to grant intervention as of right, the question is whether “the

applicant’s interest is not adequately represented by the existing parties to the litigation.”

Houston Gen. Ins. Co. v. Moore, 193 F.3d 838, 839 (4th Cir. 1999) (emphasis added). The

company-permittees, like API, are Proposed Intervenors to this litigation and are not yet parties.

And, in any event, the motion to intervene and Milito Declaration explain how the interests of

API’s members differ in certain respects from those of the other Proposed Intervenors, none of

which is addressed by the Municipalities. See Mot. to Intervene at 9; Milito Decl. at ¶¶ 8–9

(explaining how the surveys will inform API’s members’ decisions regarding resource

development in the OCS). Rather, the appropriate test is whether the Federal Defendants

adequately represent API’s interests. The motion to intervene explains at length how API’s

interests are considerably broader than those of the Federal Defendants, and the Municipalities

offer no substantive response to that explanation. See Mot. to Intervene at 11–13. For those

reasons, API meets this criterion for intervention.

C.       API’s intervention will not complicate or delay the proceedings in any way.

         Although the Municipalities do not contend that the motion to intervene is untimely, they

do suggest that API’s presence in this litigation “will only serve to complicate an already

complex proceeding, in contravention with Rule 1.” Pls. Resp. to Mot. to Intervene at 4. This

argument is also meritless. The Proposed Intervenors plainly offered to “participate collectively

PROPOSED INTERVENORS’ REPLY                      -4-
99742310.3 0081381-00014
WBD (US) 45349990v1
       2:18-cv-03326-RMG          Date Filed 01/11/19       Entry Number 63         Page 5 of 6




(i.e., they will make single filings on behalf of the group) in the interests of judicial efficiency

and clarity of presentation.” Mot. to Intervene at 3. Accordingly, API’s participation in this

lawsuit will not result in additional filings (other than this reply necessitated by the

Municipalities’ opposition) or otherwise complicate the litigation.

                                        III. CONCLUSION

         The Municipalities’ policy disagreements with API over energy and resource

development are irrelevant to the Proposed Intervenors’ motion to intervene. That motion should

be decided on the merits. As set forth above, in the motion to intervene, and in the supporting

declarations, all of the Proposed Intervenors satisfy the standards for intervention under Rule

24(a) or, alternatively, Rule 24(b), and their motion should be granted in whole.




PROPOSED INTERVENORS’ REPLY                      -5-
99742310.3 0081381-00014
WBD (US) 45349990v1
       2:18-cv-03326-RMG   Date Filed 01/11/19   Entry Number 63     Page 6 of 6




DATED: January 11, 2019            Respectfully submitted,

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PROPOSED INTERVENORS’ REPLY             -6-
99742310.3 0081381-00014
WBD (US) 45349990v1
